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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNITED STATES OF AMERICA
and STATE OF FLORIDA,
ex rel. John Doe,

       Plaintiffs,                                   Case No. 6:14-cv-501-Orl-37DAB

v.

HEALTH FIRST, INC., HEALTH FIRST
HEALTH PLANS, INC., HEALTH FIRST
MEDICAL GROUP, MELBOURNE INTERNAL
MEDICINE ASSOCIATES, P.A., HOLMES
REGIONAL MEDICAL CENTER, PALM
BAY HOSPITAL, CAPE CANAVERAL
HOSPITAL, VIERA HOSPITAL,
MELBOURNE SAME-DAY SURGERY
CENTER, and MELBOURNE GI CENTER,

      Defendants.
_________________________________/


           UNITED STATES OF AMERICA’S NOTICE OF CONSENT
                TO PROPOSED SETTLEMENT AGREEMENT
     BETWEEN PLAINTIFF-RELATOR AND THE HEALTH FIRST DEFENDANTS

       The United States files this Notice pursuant to 28 U.S.C. § 517 and the Court’s Order of

May 10, 2017, see ECF No. 142, directing the United States to inform the Court on or before June

23, 2017, whether the government consents to a dismissal of this action in light of the parties’

proposed settlement agreement.

       The United States has completed its review of the proposed settlement agreement between

plaintiff-relator John Doe (previously identified as Dr. Craig Deligdish) and defendants Health

First, Inc., Health First Health Plans, Inc., Health First Medical Group, Holmes Regional Medical

Center, Palm Bay Hospital, Cape Canaveral Hospital, Melbourne Same Day Surgery Center, and
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Melbourne GI Center (collectively, the “Health First Defendants”), see ECF No. 143, Exhibit 2.

That agreement, among other things, provides that, in return for their settlement payment, the

Health First Defendants would receive a release only from Dr. Deligdish, and the parties would

file a stipulated request that the Court dismiss the settled claims with prejudice to Dr. Deligdish

and without prejudice to the United States or State of Florida. The United States consents to this

proposed settlement agreement and a dismissal of the settled claims pursuant thereto, provided

such dismissal is without prejudice to the United States. Counsel for the State of Florida has

informed the United States, and authorized the United States to convey to this Court, that it too has

reviewed plaintiff-relator’s and the Health First Defendants’ proposed settlement agreement, and

consents to that agreement and a dismissal of the settled claims pursuant thereto, provided such

dismissal is without prejudice to the State of Florida.




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                                            Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General

                                            W. STEPHEN MULDROW
                                            Acting United States Attorney


                                     By:     /s/ Rohith V. Srinivas
                                            Lacy R. Harwell, Jr.
                                            Assistant United States Attorney
                                            Florida Bar No. 714623
                                            400 North Tampa St, Suite 3200
                                            Tampa, FL 33602
                                            Tel.: (813) 274-6000
                                            Fax: (813) 274-6200
                                            Randy.Harwell@usdoj.gov

                                            Michael D. Granston
                                            Tracy L. Hilmer
                                            Rohith V. Srinivas
                                            Attorneys, Civil Division
                                            U.S. Department of Justice
                                            P.O. Box 261
                                            Washington, D.C. 20044
                                            Tel: (202) 307-6604
                                            Rohith.V.Srinivas@usdoj.gov



                              CERTIFICATE OF NO SERVICE

       I HEREBY CERTIFY that, on June 12, 2017, I electronically filed the foregoing Notice

using the Court’s CM/ECF system, which will send a notice of filing to all counsel of record.



                                                     /s/ Rohith V. Srinivas
                                                    Rohith V. Srinivas
                                                    Trial Attorney




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